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                                                :
MOVAGE, INC.,                                   : UNITED STATES DISTRICT COURT
                                                : FOR THE DISTRICT OF NEW JERSEY
              Plaintiff,                        :
         vs.                                    : Civil Case No.:
                                                :
                                                :                CIVIL ACTION
XPRESS MOVERS, LLC; WORLD MEDIA :
GROUP, LLC d/b/a MYMOVINGREVIEW; :                 COMPLAINT AND DESIGNATION OF
MARTIN PANAYOTOV; JOHN AND JANE :                             TRIAL COUNSEL
DOES 1-20 (Fictitious Names Representing :
the Employees, Agents, Owners, Operators or :
Others with Controlling Interests in Defendants :
XPRESS MOVERS, LLC or WORLD MEDIA :
GROUP, LLC); BUSINESS ENTITIES A-J :
(Fictitious Names Representing             any :
Commercial or Business Entities that are the :
Owners, Operators, or Others with Controlling :
                                                :
Interests in Defendants XPRESS MOVERS, :
LLC or WORLD MEDIA GROUP, LLC),                 :
                                                :
              Defendants.                       :
                                                :

       Plaintiff, Movage, Inc., by way of Verified Complaint against the Defendants, says:

                       PRELIMINARY STATEMENT OF THE CASE

       1.      This case relates to a relatively new struggle that businesses face in the age of the

Internet, where deceptive business practices shift on-line, with little oversight (except by

competitors), to harm others in such a way that would not be permissible through alternative forms

of advertisement that are more closely regulated.

       2.      This is a matter related to an advertising scheme perpetuated by the Defendants to

misrepresent the source and purpose of the website “www.mymovingreviews.com” to make it
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appear to be an independent source of information when, in reality, it is little more than an

advertising portal for Defendant Xpress Movers.

       3.      In addition to the misrepresentation as to the source/identity of the operation of the

website, Defendants have taken certain action to cause reputational damage to Xpress Movers’

competitors, such as the Plaintiff, the above-named website by creating and/or posting false

negative reviews, such that it lowers the score of Xpress Movers’ competitors while, concurrently,

posting their own company (Xpress Movers) at the top of the web pages. The purpose is to

denigrate competitors while showing themselves to be a viable alternative.

                                            PARTIES

       4.      Plaintiff, Movage, Inc. (“Movage”) is New York corporation with its principal

place of business being located at 10 Malcolm Avenue, Teterboro, Bergen County, New Jersey.

       5.      Defendant Xpress Movers, LLC (“Xpress”) is, upon information and belief, a

Massachusetts limited liability company located at 5 Waltham Street, Wilmington, Middlesex

County, Massachusetts.

       6.      Defendant World Media Group, LLC d/b/a mymovingreviews.com (“WMG”) is a

Delaware limited liability company, located at 8 The Green, Suite 6769, Dover, Delaware and is

servable at “A Registered Agent, Inc.” at the same address, Suite A, Dover, Delaware.

       7.      Defendant Martin Panayotov (“Panayotov”) is, upon information and belief, the

principal of both commercial defendants named herein and is servable at Xpress Movers, LLC’s

business in Massachusetts.

       8.      The John Does and Business Entity defendants are fictitious parties identified as

such because their identities are not known at this time and who may be liable to the Plaintiff for

the damages and harms as set forth herein such that an amended complaint would be necessary.
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                                 JURISDICTION AND VENUE

        9.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338

because this matter involves violations of the Lanham Act, including Section 43(a) (15 U.S.C. §

1125(a) as the conduct herein evidences conduct which is a false or misleading representation of

fact in the connection of the provision of goods or services in violation thereof.

        10.     As to claims under New Jersey State Law, this Court has supplemental subject

matter jurisdiction over the pendant state law and common law claims pursuant to 28 U.S.C. §

1367 as those claims are so intertwined with those claims to which the Court has original

jurisdiction.

        11.     Venue is proper in this District under 28 U.S.C. § 1391 (b) and (c) because a

substantial part of the acts or omissions giving rise to this action occurred in this District and

Defendants are subject to personal jurisdiction in this District.

                            FACTS RELEVANT TO ALL CLAIMS

        12.     Movage is a highly rated, small, privately owned moving company.                It

predominately provides services originating out of the New York City, but it serves the tri-State

area. It has been in existence for greater than 10 years.

        13.     Movage is the sole and exclusive owner of the Mark, MOVAGE, as registered with

the United States Patent and Trademark Office under Registration Number 4698525. The

following is the Mark:
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        14.     In   approximately    2009,    Movage      became     aware       of   the   website

www.mymovingreview.com.

        15.     As a common practice in the industry, Movage requested that its customers provide

reviews of its services on as many internet sites as possible – including Yelp.

        16.     With the knowledge of this new website which appeared to be targeted for

Plaintiff’s business, it began requesting reviews on www.mymovingreviews.com.

        17.     Wanting to know more about the site in 2009, Movage’s principal called the

telephone number provided at that time and was surprised when the person who answered the

phone identified themselves as “Xpress Movers.”

        18.     At the time, as far as Movage was aware, Xpress Movers was not a direct

competitor of Movage and, notwithstanding Movage’s knowledge of the intertwining of the

moving company and review page, it continued to request its clients provide reviews there

        19.     As with any company, not all truthful reviews were stellar. Indeed, Movage had 8

negative (1 star) reviews posted – the last real one being in June of 2018. However, being like any

other gripe page, some of the reviews were exaggerations. One, from 2015, was even a neighbor

complaining about propping a door to a building open to perform the move: the reviewer (not the

customer) was upset. However, Movage continued to request that its clients keep posting truthful

reviews and earned aa composite positive review score (nearly 5 out of 5 stars) until February of

2020.

        20.     Movage noticed an influx of negative (1-star, out of 5) posts in February of 2020.

During that month, there were 10 (ten) 1-star reviews which dropped Plaintiff’s overall review

score from nearly 5 stars to 3 stars. This has continued into March of 2020, that is to say, the

present time.
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        21.     Also, , suddenly on the top of Movage’s page was a conspicuous ad for the now 5-

star Xpress Movers. This advertisement for Xpress appears prominently on Movage’s reviews’

page. The effect and intent is clear: “Don’t use Movage, with its bad reviews, use Xpress!”

        22.     Unnerved by these negative reviews, Plaintiff checked its records. Not a single

individual who posted one of these reviews in February or March of 2020 was an actual customer

of Movage.

        23.     Movage also noted that, at some point, Xpress had listed its states of operation to

include New York and New Jersey, where Movage does nearly all of its moves, either for their

entirety or as the origination point.

        24.     Upon information and belief, Defendants, either on their own or in conjunction with

others, fabricated false negative reviews of Movage in order to lower its score, while concurrently

redirecting customers to Xpress.

        25.     At no point, and in no place, does www.mymovingreviews.com indicate common

ownership with Xpress Movers or provide the public with any information such that the general

public would be aware of these interconnections between the businesses. It also does not indicate

that these reviews of its competitors are fake.

        26.     As a result of the conduct of the Defendants, Plaintiff has been irreparably harmed

and damaged, not only financially, but reputationally

                                 FIRST CAUSE OF ACTION
                  Trade Dress Infringement and False Designation of Origin
                       in Violation of Section 43(a) of the Lanham Act
                                     (15 U.S.C. § 1125(a))

        27.     Plaintiff repeats and realleges the preceding paragraphs as if set forth in full herein.

        28.     Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), sets forth, in pertinent part,

that:
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               Any person who, on or in connection with any goods or services, or
               any container for goods, uses in commerce any word, term, name,
               symbol, or device, or any combination thereof, or any false designation
               of origin, false or misleading description of fact, or false or misleading
               representation of fact, which . . . (1)(a) is likely to cause confusion, or
               to cause mistake, or to deceive as to the affiliation, connection, or
               association of such person with another person, or as to the origin,
               sponsorship, or approval of his or her goods, services, or commercial
               activities by another person . . . shall be liable in a civil action by any
               person who believes that he or she is or is likely to be damaged by such
               act.

       29.     In the course of providing goods and/or services in interstate commerce; by failing

to disclose to the general public that www.mymovingreviews.com has common ownership with

Xpress, making and/or posting false and libelous reviews on its website, while concurrently

directing traffic to Xpress, these defendants have used “false designations of origin” and “false or

misleading representations of fact” that are likely to cause confusion, mistake or deception as to

the affiliation or connection of these defendants to one another and through such

misrepresentations of fact and false designations of the reviews, Defendants have violated of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       30.     Defendants’ acts constitute the use in commerce of false designations of origin and

false and/or misleading descriptions or representations, tending to falsely or misleadingly describe

and/or represent the services or conduct of Plaintiff, in violation of Section 43(a) of the Lanham

Act, 15 U.S.C. § 1125(a).

       31.     Defendants’ wrongful acts will continue unless and until enjoined by this Court.

       32.     Defendants’ acts have caused and will continue to cause irreparable injury to

Plaintiff. Plaintiff has no adequate remedy at law and is thus damaged in an amount yet to be

determined.

       33.     Defendants’ egregious conduct is willful and intentional.
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       34.     As a result of Defendants’ conduct, Plaintiff is harmed and damaged, entitled to

monetary or other relief in an amount to be determined at trial, as well as injunctive relief.


                                SECOND CAUSE OF ACTION
                       Federal Trademark Infringement In Violation of
                       Sections 32 of the Lanham Act (15 U.S.C. § 1114))

       35.     Plaintiff repeats and realleges the preceding paragraphs as if set forth in full herein.

       36.     Sections 32(1)(a) of the Lanham Act, 15 U.S.C. § 1114(1)(a), prohibits any person

using in commerce, without the consent of the registrant:

               Any reproduction, counterfeit, copy, or colorable imitation of a
               registered mark in connection with the sale, offering for sale,
               distribution, or advertising of any goods or services on or in
               connection with which such use is likely to cause confusion, or to
               cause mistake, or to deceive . . .

       37.     The MOVAGE trademark is federally registered. The trademark is distinctive and

is associated in the mind of the public, with respect to the moving industry, with Movage.

       38.     Additionally, based upon Movage, by way of contract or otherwise, extensive

advertising, sales, and the popularity of the services bearing the MOVAGE trademark, and

Movage’s extensive conduct in protecting said trademark, the mark MOVAGE, as it relates to

moving services, has acquired secondary meaning so that the public associates the trademark

solely and exclusively with Movage.

       39.     Defendants have utilized and are utilizing counterfeit and/or unauthorized

reproduction of the MOVAGE trademark in connection with the advertising, sale and offering for

sale of services for their own financial gain.

       40.     Movage did not authorize Defendants’ use of the MOVAGE trademark for their

financial gain, and the Defendants’ deceptive conduct does not qualify as nominative use
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       41.       Defendants’ unauthorized use of the MOVAGE trademark on, or in connection

with, the advertising and sale of its own services constitutes the use of Movage’s registered mark

in commerce.

       42.       Defendants’ unauthorized use of the MOVAGE trademark is likely to cause

confusion, mistake, or deception; cause the public to believe that these Defendants’ services

emanate or originate from Movage when they do not, or that Movage has authorized, sponsored,

approved or otherwise associated itself with these Defendants or their unauthorized services

bearing the MOVAGE trademark.

       43.       Defendants’ unauthorized use of the MOVAGE trademark has resulted in these

defendants unfairly and illegally benefiting from Movage’s goodwill. This has caused, and

continues to cause, irreparable injury to the public, Movage, the MOVAGE trademark, and the

substantial goodwill represented as a result.

       44.       Defendants’ use of Movage’s logo in their unauthorized use of Movage’s trademark

is likely to enhance the confusion as to the source, sponsorship, affiliation, or endorsement of the

services offered by these defendants to believe that it originated from Movage.

       45.       Therefore, Defendants have engaged in trademark infringement in violation of 15

U.S.C. § 1114.

       46.       Defendants acts have caused, and will continue to cause, irreparable injury to

Movage.

       47.       Movage has no adequate remedy at law and is thus entitled to damages in an amount

yet to be determined.
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        48.    The Defendants egregious conduct in repeatedly selling their services through

advertisements bearing the unauthorized MOVAGE trademark is willful and intentional, and thus

this constitutes an exceptional case.




                                THIRD CAUSE OF ACTION
                          Federal Trademark Dilution in Violation of
                               Section 43(c) of the Lanham Act
                                     (15 U.S.C. § 1125(c))

        49.    Plaintiff repeats and realleges the preceding paragraphs as if set forth in full herein.

        50.    Section 43(c)(1) of the Lanham Act, 15 U.S.C. § 1125(c)(1), sets forth, in pertinent

part, that:

               Subject to the principles of equity, the owner of a famous mark that is
               distinctive, inherently or through acquired distinctiveness, shall be
               entitled to an injunction against another person who, at any time after
               the owner's mark has become famous, commences use of a mark or
               trade name in commerce that is likely to cause dilution by blurring or
               dilution by tarnishment of the famous mark, regardless of the presence
               or absence of actual or likely confusion, of competition, or of actual
               economic injury.

        51.    Movage is the exclusive owner of the MOVAGE service mark trademark.

        52.    The MOVAGE trademark is famous and distinctive within the meaning of Section

43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

        53.    The MOVAGE trademark is distinctive in its industry and have been in use for

several years, even prior to final registration thereof, and play a prominent role in Movage’s

marketing, advertising and the popularity of its services across many different media.

        54.    The MOVAGE trademark was “famous and distinctive” within the meaning of

Section 43(c) of the Lanham Act long before these defendants began using unauthorized
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reproductions, counterfeits, copies and colorable imitations of the MOVAGE trademark for their

unauthorized services and advertisements.

        55.     The MOVAGE trademark has gained widespread publicity and public recognition,

especially in the moving industry, in New Jersey, New York and elsewhere.

        56.     To enhance its rights, Movage, obtained federal registration for the MOVAGE

trademark for the purposes of moving services.

        57.     These defendants’ sale of services that use the MOVAGE trademark constitutes use

in commerce thereof.

        58.     Movage has not licensed or otherwise authorized the use of the MOVAGE

trademark to these defendants for the advertisement of their own services.

        59.     Consumers are being misled to purchase these defendants’ services in the erroneous

belief that these defendants are associated with, sponsored by, or affiliated with Movage, or that

Move is the source of the services advertised or have used Moveage’s trademark in the furtherance

of their advertising their services.

        60.     Defendants’ use of the MOVAGE trademark dilutes and/or is likely to dilute the

distinctive quality of the mark and to lessen the capacity of the mark to identify and distinguish

Movage’s services. These defendants’ unlawful use of the MOVAGE trademark in connection

with other inferior services is likely to tarnish those trademarks and cause blurring in the minds of

consumer in the moving industry between Movage and these defendants, thereby lessening the

value of the Movage trademark as a unique identifier of Movage’s services.

        61.     Defendants’ acts have caused, and will continue to cause, irreparable injury to

Movage. Movage has no adequate remedy at law and is thus damages in an amount yet to be

determined.
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                                 FOURTH CAUSE OF ACTION
                                         Fraud

        62.      Plaintiff repeats and realleges the facts as set forth in the preceding paragraphs as

if set forth in full herein.

        63.      Defendants, through their conduct as set forth above, have created a scheme

whereby they are making material misrepresentations to the public with respect to the quality of

the services of Movage through false and defamatory posts on their website while, concurrently,

advertising their own services on the top of these false posts.

        64.      In their activities as set forth herein, the Defendants make innumerable material

misrepresentations and omissions with respect to their interrelated nature and that the posts are

true or real.

        65.      The intent of the conduct of Defendants is to decrease the reputation of Movage to

their benefit through these misrepresentations and omissions.

        66.      Movage has been harmed and will continue to be harmed as a result of these false

and defamatory posts which are fraudulently created by Defendants to cause this harm.

        67.      As a result of Defendants’ conduct, Movage has been harmed and damaged and is

entitled to damages as determined at trial along with injunctive and other relief.

                                        FIFTH COUNT
                                   Defamation/Libel/Trade Libel

        68.      Plaintiff repeats and realleges the facts as set forth in the preceding paragraphs as

if set forth in full herein.

        69.      Defendants have made innumerable false and defamatory claims about Movage in

an effort to harm their business and increase Defendants’ business.
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        70.      The statements made in these fabricated posts are demonstratively false and their

posting is a malicious act by the Defendants to decrease the reputation of Movage.

        71.      The conduct has, upon information and belief, decreased the reputation of Movage

and caused financial harm.

        72.      As a result of Defendants’ conduct, Movage has been harmed and damaged and is

entitled to damages as determined at trial.

                                   SIXTH CAUSE OF ACTION
                                       (Punitive Damages)

        73.      Plaintiff repeats and realleges the facts as set forth in the preceding paragraphs as

if set forth in full herein.

        74.      The conduct, as set forth in the preceding counts, were done with actual malice, or

accompanied by a wanton and willful disregard of persons who foreseeably might be harmed by

those acts and/or omissions.

        75.      The Defendants knew, or should have known, at relevant times, that serious harm

would arise from their conduct.

        76.      Defendants were aware and recklessly disregarded the likelihood that the serious

harm at issue would arise from their conduct.

        77.      These Defendants continued the conduct as set forth above and continue to do so.

        78.      Plaintiff has been harmed and seriously damaged as a result of the conduct of these

Defendants.

        79.      Due to the facts alleged herein, under the New Jersey Punitive Damages Act,

N.J.S.A. 2A:15-5.9-12, allows punitive damages to be awarded.

        WHEREFORE, Movage respectfully requests that the Court enter judgment in favor and

against the Defendants, jointly and severally, as follows:
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           A. Compensatory damages;

           B. Actual, Special, Exemplary and/or Nominal Damages;

           C. Injunctive Relief;

           D. Punitive Damages;

           E. Legal Fees and Costs of Suit;

           F. Pre-judgment and Post-judgment interest; and

           G. Such other relief as this Court deems to be just and equitable.

                                        JURY REQUEST

       Plaintiff demands a trial by jury.

                        LOCAL CIV. RULE 11.2 CERTIFICATION

       By signing below, counsel for Plaintiff confirms that the within matter in controversy is

not the subject of any other action pending in any court or any other pending arbitration or

administrative proceeding.


                                                            LURIE|STRUPINSKY, LLP
                                                            Attorneys for Plaintiff




                                                            By: __________________________
                                                                   JOSHUA M. LURIE
DATED: April 7, 2020
